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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                *
 UNITED STATES OF AMERICA       *
                                *   CRIMINAL NO. 23-cr-257 (TSC)
      v.                        *
                                *
 DONALD J. TRUMP,               *
                                *
            Defendant.          *
                                *
               GOVERNMENT’S REPLY BRIEF IN SUPPORT OF
     MOTION FOR LEAVE TO FILE UNREDACTED MOTION UNDER SEAL,
          AND TO FILE REDACTED MOTION ON PUBLIC DOCKET

       The defendant’s opposition brief does not address the factors the Court is required to

consider under United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980), or the First

Amendment. Compare ECF No. 248 with ECF No. 246 at 4-9; see also ECF No. 55 (“To approve

the sealing of any materials in a criminal case, the court must still engage in the analysis required

by the common-law Hubbard factors and, where applicable, the First Amendment.”). Instead, in

an about-face from his previous objection “to any of the proceedings in this case being conducted

under seal,” see ECF No. 166 at 1 n.1, the defendant focuses on the constraints of the protective

order with respect to discovery material, while ignoring the fact that the Government fully

complied with the protective order and explained in detail the reasons for the proposed redactions

so that the Court can make an independent determination regarding what should be made

public. See ECF No. 246 at 1 (describing filing process under protective order); ECF No. 29 at 66

(The Court: “I intend for this case to proceed in the public record as much as possible . . . and I

will carefully weigh the relevant factors to ensure that there’s sufficient reason for keeping any

material off the public record.”). The Government stands by its recitation and application of the

factors the Court is required to consider.
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       The defendant agrees with the Government’s proposed redactions of the “names of

individuals who are not specifically identified in the Superseding Indictment,” but suggests that

those redactions do not go far enough to protect witness identities, and that in addition the

witnesses’ “titles and positions” should be redacted. ECF No. 248 at 2-3. The Government’s

proposed redaction of the names only, however, is consistent with the approach taken in the

superseding indictment and, in the Government’s view after assessing the Hubbard factors, is

sufficient to protect witnesses from harassment while permitting an appropriate degree of public

access. See, e.g., ECF No. 226 ¶¶ 9, 18-19, 24-26, 29, 32, 36 (not naming but providing

information about co-conspirators and witnesses, including titles such as “Campaign Manager,”

“Arizona’s Governor,” “Arizona House Speaker,” “Senior Campaign Advisor,” “executive

assistant,” “the Defendant’s Chief of Staff,” “Georgia Attorney General,” “Georgia Governor and

Secretary of State,” “Chairwoman of the Republican National Committee,” “Michigan House

Speaker and Michigan Senate Majority Leader,” and “Senior Advisor”). On this point, a case that

the defendant cites, United States v. Todd, supports the Government’s position, not his own; there,

the court permitted the Government to file source materials under seal but required it to file on the

public docket the information important to the Court’s determination—the overall amount of

damage incurred by federal agencies during the January 6, 2021 attack on the Capitol—and

allowed the Government to redact for public filing the name, but not the title, of the Acting Senate

Sergeant of Arms. See 2024 WL 3566223, at *3 n.5 (D.D.C. 2024). If the Court’s balancing of

the Hubbard factors leads it to a different conclusion, the Government can promptly submit a

revised proposed public filing including the additional redactions of “titles and positions” proposed

by the defendant.




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       Finally, the defendant’s opposition includes his standard and unsupported refrain that the

Government’s position is motivated by improper political considerations. That allegation is

false—just as it was false when the Court denied the defendant’s motion to dismiss the case on

grounds of selective and vindictive prosecution. See ECF No. 198. The Special Counsel’s

mandate is to uphold the law. It has no role or interest in partisan politics and has faithfully

executed its prosecutorial duties in this case. The Government’s position, set forth on the schedule

ordered by the Court, is rooted in a faithful application of binding D.C. Circuit caselaw—namely,

a careful analysis and balancing of the Hubbard factors.

                                                     Respectfully submitted,

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